C.lA 20 APPOINTMENT Ol" AND AUTHORITY TO PAY COURT APPO|NTED COUNSEL

 

1.CIR..'I)Ier01\GBS€ 2

TNW Hughes, Ronald

 

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IMHW

 

 

3. MAG. DKT.!DEF. NUMBER 4. DlST. DKT.."DEF. NUMBER

2.'05 -020075-002

5. APPEALS DKT.fDEI-`. NUMBER

P? p__g T.N M ER
i`_f:k_,i ;'_. l 7 ____r _ D.C.

 

'.'. m CAsE/MATTER or s. PAYMEN T cumon
U.S. v. Hughes Felony

(Case Nsme)

 

9. TYPE I’ERSON REPRESENTED

10. REP RESENTATION TYPE

05 ln_struetionl)

Adult Defendant malicqu §?; 3 g

 

 

11. QFFENse(s) cH ARGno (cite u.s. cuoe, Titlt & section
l) 21 846=C D.F -- CONSPIRACY TO DISTRIBUTE CON

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nse, list (up to live] major ol’Im:es cherged, sccording to severity of offense

TROLLED SUBS'I`ANCE

 

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369 N. Mam
Memphis TN 38103

Teleplmne Number: (901) 527'5000

lz. ATT<)RNF.Y'$ NAME rlmN=mt.M.l..L¢¢t Ntmt.it.tl..dmgmyt..mx) 13. comer olu)ER iJi_iZHF'i .
AND oleluNG ADl)RE S o Appni..tt..gt;nu..s¢l 13 c eugene ..,.
Schremer, lStef`ft:n G. ij F subtrttrttntnoerenott l:i n so wl m e¢. MP is

 

14. NAME AND MAlLING A.DDRESS OF LAW FIRM (only provide perlnstructions)

 
 
 
 

 

|:l P Suhl Fur PnnelAlturney

Prinr Atloruey's Nlrne:

th rwlse satisfied this coan that he of she (l) is linnncillly unable to employ counsel and
(2] does nut wish tn wllve counsel, end heuuse the interests ot'justice so requir¢,ihe
attorney whose name lppelrs in item 11 is appointed to represent this person in this csse,

time of nppolnlmetlt.

   

|:j \' SundhyConnsei

 

Appolnlmellt Dnte'.

Becsuse the above-named person represented has testified under oath or ins

 
     

   

f Pesidiog .Judicil| Oll`ir.er or liy 'l
06/9')/')00§
Dlte ofOrder

o

Nunc Pro Tunc Dnte
Repayment or partial repayment ordered from the person represented I'or this s ervlce st

l:!YES i:] NO

 
 
 
     
     

'*c"

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(other than expert, transcripts, etc.)

 
 
   

CERTlFlCATlON OF ATTORNEY."PA\'EE FOR THE PERlOD O F SERV`IC`
FROM TO

E

cATEGoRIEs (Attacn itemization or tamm with datet) CE§IH§_:SD “§'})TJH§YFEE‘§,“ AHBWE($AL
CLAIMED HOURS A.MOUNT

l5. a. Arraignment and/or Plea "` _

b. san and Detentitm Hearings _

c. Motion Hearings _
L d. Trlal _
C e. Sentencing Hearings _
3 f. Revocation Hearlngs _
tr g. Appeals Court _

h. Other (Speeiry on additional sheets) _

(Rate per hour = S ) TOTALS: -

16. a. lntervlews and Coni’erences _
».? b. Obtaining and reviewing records _.¢
0 c. Legal rese arch and brief writing _
(r: d. 'l`ravel time _
3 e. lnvestigntive and Other work (Spet~.lfy nn additional them} _
{ (Rilte per hour = $ ) TOTALS: -
17. Tra\'el Expenses (lodging, parking, mells, mileage, etc.)
lB. Other Expenses

 

   
 
 
  
 
    

 

 

 

 

 

 

20. APPOlNTMENT TERMINAT|ON DATE
lF OTHER THAN CASE COMP[.ETION

21. CASE DlSPO SlTlON

 

 

C LAIM STATUS [:l l-`inll Psymen! I] interim Plyment Number

representetiun'.'

[:lNO

ll`yes, give details nn ldditionll sheetl.

l swear or afi'lrm the truth or correctness of the shore statements.

Hlve you previously applied to the court fu' compensation and/or remimhursernent fur this esse?
Other thin from llle court. have you, or loyour knowledge lens lnyone els e, received plyment [compenntion or soything or vllue) from any other source in connection with this

g Supplemente| Peyment

E\ YES [\ NO lfyes. were you pald'.' |:l YES |:l NO

 

 

 

 

 

 

 

23. lN CGURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES Z't'. TOTAL AMT. APPRICERT
28. SIGNATURE OF THE l;RESIDING JUDICIAL OFFICER DATE 28a. JUDGE l MAG. JUDGE CODE
19. IN C`OURT COMP. 30. OUT OF COURT COMP. Ji. TRAVEL EXI’ENSES 31. OTHER EXPENSES 33. 'l'OTAL AMT. APFROVED

 

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34. SlGNATURE OF CHIEF JUDGE, COURT Ci¥" APP EALS (()R DELEGATE) Feymenl

DATE 341|. JUDCE CODE

 

 

 

 

Thls document entered on the docket Sh et in compliance
with nom 55 and/or ez(b) FHctP on 2 "L *QQ'

UNITD s"sATE DRISTIC COURT - WE"RNT DISITRCT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 50 in
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Honorablc Samuel Mays
US DISTRICT COURT

